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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



    KENNETH TELESCO, individually and on               Civil Action No.:
    behalf of all others similarly situated,
                                                       CLASS ACTION COMPLAINT
                                  Plaintiff,
                                                       JURY TRIAL DEMANDED
          v.
    STARBUCKS CORPORATION,
                                  Defendant.


         Plaintiff Kenneth Telesco (“Plaintiff”), individually and on behalf of all others similarly

situated, brings this action against Defendant Starbucks Corporation (“Starbucks” or

“Defendant”). Plaintiff makes the following allegations pursuant to the investigation of his

counsel and based upon information and belief, except as to the allegations specifically

pertaining to himself, which are based on personal knowledge.

                                    NATURE OF THE ACTION

         1.       This is a putative class action lawsuit on behalf of purchasers of Starbucks Cold

Brew Concentrate coffee products (collectively, the “Coffee Products”) against Defendant for

manufacturing, distributing, and selling underfilled Coffee Products.1

         2.       Starbucks is an American multinational chain of coffeehouses and roastery

reserves. Starbucks was valued at over 47 billion U.S. dollars worldwide in 2020, making it the

second most valuable quick service restaurant brand in the world.2 In addition to its coffeehouse



1
  The Coffee Products include the Signature Black, Caramel Dolce, and Madagascar Vanilla
flavors. See https://athome.starbucks.com/products/cold-brew-multi-serve-concentrate-
signature-black; https://athome.starbucks.com/products/cold-brew-multi-serve-concentrate-
caramel-dolce; https://athome.starbucks.com/products/cold-brew-multi-serve-concentrate-
madagascar-vanilla.
2
    https://www.statista.com/statistics/219513/starbucks-revenue-by-product-type/

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locations, many Starbucks-brand coffee, ice cream, and bottled cold coffee drinks are sold at

grocery stores throughout the United States.

       3.       Starbucks engages in widespread false and deceptive advertising on its Coffee

Products. In a practice that offends reasonable consumer expectations, Defendant employs a

classic bait-and-switch scheme that causes unsuspecting consumers to spend more money for

less than the advertised amount of coffee they believe they are purchasing. The packaging and

labeling of the Coffee Products prominently advertise that they will produce a certain number of

servings when, in fact, they do not.

       4.       The FDA’s Code of Regulations defines serving sizes for a wide variety of food

products, including coffee. Specifically, Table 2 of 21 C.F.R. § 101.12 defines “Reference

Amounts Customarily Consumed Per Eating Occasion: General Food Supply.” Id. One serving

of “Coffee or tea, flavored and sweetened” is defined in this table as “12 fl oz (360mL).” Id.




       5.       Plaintiff purchased the Coffee Products, which prominently advertises on its front

labels that one bottle “Makes 8 Servings When Prepared As Directed” (the “Serving Claims”):




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       6.       But according to both the CFR and Starbucks’s own measurements, the Coffee

Products only produce 5 servings of coffee per 32 ounce bottle:




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       7.       To get the 8 services promised, Starbucks uses inconsistent serving sizes. Per the

instructions located on the side of the bottle, one serving of Starbucks Cold Brew Coffee consists

of 4 fluid ounces of the Coffee Products and 4 fluid ounces of water – for a total serving size of 8

fluid ounces:




       8.       But as explained above, 8 fluid ounces is not one serving of coffee, it is two-thirds

of a single serving. To make the advertised 8 servings, the Coffee Products would have to

contain approximately 48 fluid ounces of concentrate, which would produce 96 ounces of coffee,

or 8 servings of 12 fluid ounces each, when mixed in a “1:1 ratio” with water as directed. But

the Coffee Products purchased by Plaintiff contains only 36 fluid ounces of concentrate. Thus,

the Coffee Products are underfilled by 33 percent.



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                                            PARTIES

       9.       Plaintiff Kenneth Telesco is a citizen of New York, residing in New Rochelle,

New York. In or about September 2021, Plaintiff Telesco purchased one 32 fluid ounce bottle of

Starbucks Cold Brew Concentrate from his local Stop and Shop grocery store in New Rochelle,

New York. Prior to his purchase of the Coffee Product, Plaintiff Telesco reviewed the product’s

labeling and packaging and saw that the Coffee Product purportedly contained 8 servings of

coffee. Plaintiff Telesco relied on that labeling and packaging to choose his Coffee Product over

comparable products. Plaintiff Telesco saw these representations prior to, and at the time of

purchase, and understood them as representations and warranties that his Coffee Product was

contained 8 servings of coffee. Plaintiff Telesco relied on these representations and warranties in

deciding to purchase his Coffee Product. Accordingly, these representations and warranties were

part of the basis of the bargain, in that he would not have purchased the Coffee Product on the

same terms had he known these representations were not true. In making his purchase, Plaintiff

Telesco paid a substantial price premium due to the false and misleading Serving Claims.

However, Plaintiff Telesco did not receive the benefit of his bargain because his Coffee Product,

in fact, did not contain 8 servings. Further, Plaintiff Telesco understood that the purchase came

with Defendant’s representation and warranties that his Coffee Product contained 8 servings.

       10.      Defendant is a corporation organized and existing under the laws of the state of

Washington, with corporate headquarters at 2401 Utah Ave South, Seattle, WA, 98134.

Starbucks manufactures, sells, and/or distributes Starbucks-brand products, and is responsible for

the advertising, marketing, trade dress, and packaging of the Coffee Products. Starbucks

manufactured, marketed, and sold the Coffee Products during the class period.




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                                   JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction pursuant to 28 U.S.C § 1332(d)(2)(a)

because this case is a class action where the aggregate claims of all members of the proposed

class are in excess of $5,000,000.00, exclusive of interest and costs, there are over 100 members

of the putative class, and Plaintiff, as well as most members of the proposed class, are citizens of

states different from Defendant.

       12.     This Court has personal jurisdiction over Defendant because Defendant conducts

substantial business within New York, such that Defendant has significant, continuous, and

pervasive contacts with the State of New York. Defendant is registered to do business in the

State of New York. Furthermore, a substantial portion of the events giving rise to Plaintiff’s

claims occurred in this State, including Plaintiff’s purchase.

       13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and (c)

because a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in

this District and because Defendant transacts business and/or has agents within this District.

                                   FACTUAL ALLEGATIONS

       14.     Defendant’s advertising and marketing of the Coffee Products is false and

misleading and omits material information. Each of the Coffee Products prominently advertises

on the front label that each bottle “Makes 8 Servings When Prepared As Directed:”




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       15.     But as seen from their “Nutritional Facts”, and consistent with CFR Guidance,

“3/4 cup (180 mL) concentrate makes 1-1/2 cups (360 mL).” In other words, 1 serving of the

Coffee Products consists of 3/4 cups (6 fluid ounces or 180 mL) of concentrate mixed with 3/4

cups (6 fluid ounces or 180 mL) of water, for a total serving size of 1 and 1/2 cups (12 fluid



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ounces or 360 mL).




       16.     Consumers reasonably expect that the Coffee Product will yield the number of

servings advertised on the front label. Instead, Defendant performs a classic bait and switch, to

mislead reasonable consumers into thinking that the Coffee Products will produce 8 servings of

coffee, when they will actually produce only 5 servings – a difference of 37.5%.

       17.     Defendant’s misrepresentations and/or omissions violate consumers’ reasonable

expectations and, as alleged herein, New York’s consumer protection statutes. The number of

servings of coffee that each bottle of the Coffee Product actually produces is objective factual

proof that the Coffee Products are falsely advertised.




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       18.     Throughout the class period defined below, Defendant has engaged in, and

continues to engage in, an advertising and marketing campaign that misrepresents its Coffee

Products. Defendant has engaged in, and continues to engage in, a pattern of willful conduct,

through affirmative misrepresentations and/or material omissions, designed to mislead and lure

consumers into purchasing Coffee Products they would not have otherwise purchased. As a

result of this deception, Defendant has sold thousands, if not millions, of Coffee Products to

unsuspecting consumers across the country, including in New York.

       19.     Defendant’s advertising claims are false, misleading, and deceptive because

Defendant willfully misrepresents on the labeling and packaging of its Coffee Products

information that is material to consumers’ purchasing decision – the number of servings of

coffee that each bottle will produce. Defendant, thus, intentionally misleads consumers into

purchasing its Coffee Products based on false, misleading, and deceptive advertising that

portrays the Coffee Products as having characteristics that they do not, in fact, have.

       20.     In making the false, misleading, and deceptive representations and omissions

described above, Defendant knew and/or intended that consumers would purchase its Coffee

Products and pay more for them under the false – but reasonable – belief that each bottle would

produce more servings of coffee than it actually does. By advertising so prominently that the

Coffee Products produce more cups than they actually do, Defendant proves that information

about serving yield is material to consumers. If such information were not material, Defendant

would not feature it in capital letters on the front label of every Coffee Product.




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       21.     Any reasonable consumer would rely on Defendant’s false, misleading, and

deceptive representations and/or omissions about serving yield when deciding whether to

purchase the Coffee Product. Plaintiff and Class and Subclass Members did so to their

detriment. Defendant’s representations and/or omissions misled Plaintiff and Class and Subclass

Members and are likely to mislead the broader consuming public.

       22.     As an immediate, direct, and proximate result of Defendant’s false, misleading,

and deceptive representations and/or omissions, Plaintiff and Class and Subclass Members were

injured in that they: (1) paid money for Coffee Products that were not what Defendant

represented; (2) were deprived of the benefit of the bargain because the Coffee Products they

purchased were different than what Defendant advertised; and (3) were deprived of the benefit of

the bargain because the Coffee Products they purchased had less value than what Defendant

represented.

       23.     Had Defendant not made the false, misleading, and deceptive representations

and/or omissions alleged herein, Plaintiff and Class and Subclass Members would not have

purchased the Coffee Products or would not have paid as much as they did for such products.

Thus, each Plaintiff and Class and Subclass member suffered an injury in fact and lost money or

property as result of Defendant’s wrongful conduct.

                                   CLASS ALLEGATIONS

       24.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

contained in all preceding paragraphs of this complaint.




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       25.     Plaintiff seeks to represent a class defined as all people who purchased any

Starbucks Coffee Product falsely advertising the number of servings of coffee that the product

would purportedly produce during the applicable statute of limitations and who have not

received a refund or credit for their purchase(s) (the “Class”). Specifically excluded from the

Class are Defendant, Defendant’s officers, directors, agents, trustees, parents, children,

corporations, trusts, representatives, employees, principals, servants, partners, joint ventures, or

entities controlled by Defendant, and their heirs, successors, assigns, or other persons or entities

related to or affiliated with Defendant and/or Defendant’s officers and/or directors, the judge

assigned to this action, and any member of the judge’s immediate family.

       26.     Plaintiff also seeks to represent a subclass consisting of Class Members who

reside in New York (the “Subclass”).

       27.     Subject to additional information obtained through further investigation and

discovery, the foregoing definitions of the Class and Subclass may be expanded or narrowed by

amendment or amended complaint.

       28.     Numerosity. The Class and Subclass Members are geographically dispersed

throughout the United States and are so numerous that individual joinder is impracticable. Upon

information and belief, Plaintiff reasonably estimates that there are hundreds of thousands of

Members in the Class and Subclass. Although the precise number of Class and Subclass

Members is unknown to Plaintiff, it is known by Defendant and may be determined through

discovery.

       29.     Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all Members of the Class and Subclass and predominate over

any questions affecting only individual Class or Subclass Members. These common legal and

factual questions include, but are not limited to, the following:



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    (a)   Whether Defendant made false and/or misleading statements to the

          consuming public concerning the serving yield in the Coffee Products;

    (b)   Whether Defendant omitted material information to the consuming public

          concerning the actual serving yield in the Coffee Products;

    (c)   Whether Defendant’s labeling and packaging for the Coffee Products is

          misleading and/or deceptive;

    (d)   Whether Defendant engaged in unfair, fraudulent, or unlawful business

          practices with respect to the advertising and sale of the Coffee Products;

    (e)   Whether Defendant’s representations concerning the Coffee Products were

          likely to deceive a reasonable consumer;

    (f)   Whether Defendant’s omissions concerning the Coffee Products were

          likely to deceive a reasonable consumer;

    (g)   Whether Defendant represented to consumers that the Coffee Products

          have characteristics, benefits, or qualities that they do not have;

    (h)   Whether Defendant advertised the Coffee Products with the intent to sell

          them not as advertised;

    (i)   Whether Defendant falsely advertised the Coffee Products;

    (j)   Whether Defendant made and breached express and/or implied warranties

          to Plaintiff and Class and Subclass Members about the Coffee Products;

    (k)   Whether Defendant’s representations, omissions, and/or breaches caused

          injury to Plaintiff and Class and Subclass Members; and

    (l)   Whether Plaintiff and Class and Subclass Members are entitled to

          damages.




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       30.     Typicality. Plaintiff’s claims are typical of the claims of the other Members of

the Class and Subclass in that, among other things, all Class and Subclass Members were

deceived (or reasonably likely to be deceived) in the same way by Defendant’s false and

misleading advertising claims about the serving yield of the Coffee Products. All Class and

Subclass Members were comparably injured by Defendant’s wrongful conduct as set forth

herein. Further, there are no defenses available to Defendant that are unique to Plaintiff.

       31.     Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the Members of the Class and Subclass. Plaintiff has retained counsel that is highly

experienced in complex consumer class action litigation, and Plaintiff intends to vigorously

prosecute this action on behalf of the Class and Subclass. Furthermore, Plaintiff has no interests

that are antagonistic to those of the Class or Subclass.

       32.     Superiority. A class action is superior to all other available means for the fair

and efficient adjudication of this controversy. The damages or other financial detriment suffered

by individual Class and Subclass Members are relatively small compared to the burden and

expense of individual litigation of their claims against Defendant. It would, thus, be virtually

impossible for Class or Subclass Members to obtain effective redress on an individual basis for

the wrongs committed against them. Even if Class or Subclass Members could afford such

individualized litigation, the court system could not. Individualized litigation would create the

danger of inconsistent or contradictory judgments arising from the same set of facts. It would

also increase the delay and expense to all parties and the court system from the issues raised by

this action. The class action device provides the benefits of adjudication of these issues in a

single proceeding, economies of scale, and comprehensive supervision by a single court, and

presents no unusual management difficulties under the circumstances.

       33.     In the alternative, the Class and Subclass may also be certified because:



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               (a)    the prosecution of separate actions by individual Class and Subclass

                      Members would create a risk of inconsistent or varying adjudications with

                      respect to individual Class or Subclass Members that would establish

                      incompatible standards of conduct for Defendant;

               (b)    the prosecution of separate actions by individual Class and Subclass

                      Members would create a risk of adjudications with respect to them that

                      would, as a practical matter, be dispositive of the interests of other Class

                      and Subclass Members not parties to the adjudications, or substantially

                      impair or impede their ability to protect their interests; and/or

               (c)    Defendant has acted or refused to act on grounds generally applicable to

                      the Class and to each Subclass as a whole, thereby making appropriate

                      final declaratory and/or injunctive relief with respect to the Members of

                      the Class and to the Members of the Subclass as a whole.

                                          COUNT I
                                 Breach of Express Warranty
                             (On Behalf of the Class and Subclass)

       34.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

contained in all preceding paragraphs of this complaint.

       35.     Plaintiff brings this claim individually and on behalf of the Members of the

proposed Class and Subclass against Defendant.

       36.     As the designer, manufacturer, marketer, distributor, and/or seller of the Coffee

Products, Defendant issued an express warranty by representing to consumers at the point of

purchase that each Coffee Product would yield a certain number of servings of coffee.

Defendant’s representations were part of the description of the goods and the bargain upon which




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the goods were offered for sale and purchased by Plaintiff and Members of the Class and

Subclasses.

       37.     In fact, the Coffee Products do not conform to Defendant’s representations about

serving yield. Each Coffee Product produces fewer servings of coffee than what Defendant

represents. By falsely representing the Coffee Products in this way, Defendant breached express

warranties.

       38.     As a direct and proximate result of Defendant’s breach, Plaintiff and Members of

the Class and Subclasses were injured because they: (1) paid money for Coffee Products that

were not what Defendant represented; (2) were deprived of the benefit of the bargain because the

Coffee Products they purchased were different than Defendant advertised; and (3) were deprived

of the benefit of the bargain because the Coffee Products they purchased had less value than

Defendant represented. Had Defendant not breached the express warranty by making the false

representations alleged herein, Plaintiff and Class and Subclass Members would not have

purchased the Coffee Products or would not have paid as much as they did for them.

       39.     On or around May 18, 2021, prior to filing this action, Defendant was served with

a pre-suit notice letter that complied in all respects with U.C.C. §§ 2-313, 2-607. Plaintiff’s

counsel sent Defendant a letter advising Defendant that it breached an express warranty and

demanded that Defendant cease and desist from such breaches and make full restitution by

refunding the monies received therefrom. The letter also informed Defendant of its breach of

implied warranties and numerous statutory violations.

                                          COUNT II
                                 Breach of Implied Warranty
                             (On Behalf of the Class and Subclass)

       40.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

contained in all preceding paragraphs of this complaint.



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       41.     Plaintiff brings this claim individually and on behalf of the Members of the

proposed Class and Subclass against Defendant.

       42.     Defendant routinely engages in the manufacture, distribution, and/or sale of the

Coffee Products and is a merchant that deals in such goods or otherwise holds itself out as

having knowledge or skill particular to the practices and goods involved.

       43.     Plaintiff and Members of the Class and Subclass were consumers who purchased

Defendant’s Coffee Products for the ordinary purpose of such products.

       44.     By representing that the Coffee Products would produce a certain number of

servings, Defendant impliedly warranted to consumers that the Coffee Products were

merchantable, such that they were of the same average grade, quality, and value as similar goods

sold under similar circumstances.

       45.     However, the Coffee Products were not of the same average grade, quality, and

value as similar goods sold under similar circumstances. Thus, they were not merchantable and,

as such, would not pass without objection in the trade or industry under the contract description.

As a direct and proximate result of Defendant’s breach, Plaintiff and Members of the Class and

Subclass were injured because they paid money for Coffee Products that would not pass without

objection in the trade or industry under the contract description.



                                          COUNT III
                                  Deceptive Acts Or Practices
                          Violation of New York Gen. Bus. Law § 349
                             (On Behalf of the Class and Subclass)

       46.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

contained in all preceding paragraphs of this complaint.

       47.     Plaintiff brings this claim individually and on behalf of the Members of the

proposed New York Subclass against Defendant.


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       48.     Defendant committed deceptive acts and practices by employing false,

misleading, and deceptive representations and/or omissions about the serving yield of its Coffee

Products to mislead consumers into believing the Coffee Products they purchase will yield a

greater number of servings than each bottle actually yields.

       49.     Plaintiff has standing to pursue this claim because he has suffered an injury-in-

fact and has lost money or property as a result of Defendant’s deceptive acts and practices.

Specifically, Plaintiff purchased a Coffee Product for his own personal consumption. In doing

so, Plaintiff relied upon Defendant’s false, misleading, and deceptive representations that the

Coffee Product would produce more servings of coffee than it actually did. Plaintiff spent

money in the transaction that he otherwise would not have spent had he known the truth about

Defendant’s advertising claims.

       50.     Defendant’s deceptive acts and practices were directed at consumers.

       51.     Defendant’s deceptive acts and practices are misleading in a material way because

they violate consumers’ reasonable expectations. Defendant knew consumers would purchase

Coffee Products and/or pay more for them under the false – but reasonable – belief that each

bottle would produce more servings than it actually does. By advertising so prominently that the

Coffee Products yield more servings than they actually do, Defendant proves that information

about serving yield is material to consumers. If such information were not material, Defendant

would not feature it in capital letters on the front label of every Coffee Product bottle. As a

result of its deceptive acts and practices, Defendant has sold thousands, if not millions, of Coffee

Products to unsuspecting consumers across New York. If Defendant had advertised its Coffee

Products truthfully and in a non-misleading fashion, Plaintiff and other Class and Subclass

Members would not have purchased them or would not have paid as much as they did for them.

       52.     As a direct and proximate result of Defendant’s false, misleading, and deceptive



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representations and/or omissions, Plaintiff and other Members of the Class and Subclass were

injured in that they: (1) paid money for Coffee Products that were not what Defendant

represented; (2) were deprived of the benefit of the bargain because the Coffee Products they

purchased were different than Defendant advertised; and (3) were deprived of the benefit of the

bargain because the Coffee Products they purchased had less value than Defendant represented.

       53.     On behalf of himself and Members of the New York Subclass, Plaintiff seeks to

enjoin Defendant’s unlawful acts and practices and recover his actual damages or fifty (50)

dollars, whichever is greater, three times actual damages, and reasonable attorneys’ fees.

                                         COUNT IV
                                      False Advertising
                         Violation of New York Gen. Bus. Law § 350
                            (On Behalf of the Class and Subclass)

       54.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

contained in all preceding paragraphs of this complaint.

       55.     Plaintiff brings this claim individually and on behalf of the Members of the

proposed Class and Subclass against Defendant.

       56.     Defendant engaged in a campaign of false advertising with regard to the serving

yield of its Coffee Products to mislead consumers into believing the Coffee Products they

purchase will yield a greater number of servings than each bottle actually yields.

       57.     Plaintiff has standing to pursue this claim because he has suffered an injury-in-

fact and has lost money or property as a result of Defendant’s deceptive acts and practices.

Specifically, Plaintiff purchased a Coffee Product for his own personal consumption. In doing

so, Plaintiff relied upon Defendant’s false, misleading, and deceptive representations that the

Coffee Product would produce more servings of coffee than it actually did. Plaintiff spent

money in the transaction that he otherwise would not have spent had he known the truth about

Defendant’s advertising claims.


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       58.      Defendant’s deceptive acts and practices were directed at consumers.

       59.      Defendant’s deceptive acts and practices are misleading in a material way

because, as alleged above and herein, they violate consumers’ reasonable expectations. If

Defendant had advertised its Coffee Products truthfully and in a non-misleading fashion,

Plaintiff and other Class and Subclass Members would not have purchased the Coffee Products

or would not have paid as much as they did for them.

       60.      As a direct and proximate result of Defendant’s false, misleading, and deceptive

representations and omissions, Plaintiff and other Members of the Class and Subclass were

injured in that they: (1) paid money for Coffee Products that were not what Defendant

represented; (2) were deprived of the benefit of the bargain because the Coffee Products they

purchased were different than Defendant advertised; and (3) were deprived of the benefit of the

bargain because the Coffee Products they purchased had less value than Defendant represented.

       61.      On behalf of himself and Members of the New York Subclass, Plaintiff Telesco

seeks to enjoin Defendant’s unlawful acts and practices and recover his actual damages or five

hundred (500) dollars per violation, whichever is greater, three times actual damages, and

reasonable attorneys’ fees.



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, seeks

judgment against Defendant as follows:

       a. Certifying the Class and Subclass under Rule 23 of the Federal Rules of Civil

             Procedure and naming Plaintiff as representatives of the Class and Subclass and

             Plaintiff’s attorneys as Class Counsel to represent the Class and Subclass Members;

       b. Declaring that Defendant’s conduct violates the statutes referenced herein;



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       c. Finding in favor of Plaintiff, the Class, and the Subclass against Defendant on all

           counts asserted herein;

       d. Ordering Defendant to disgorge and make restitution of all monies Defendant

           acquired by means of the unlawful practices as set forth herein;

       e. Awarding declaratory and injunctive relief as permitted by law or equity, including:

           enjoining Defendant from continuing the unlawful practices as set forth herein, and

           directing Defendant to identify, with Court supervision, victims of its conduct and

           pay them all the money it is required to pay;

       f. Awarding Plaintiff and Class and Subclass Members their costs and expenses

           incurred in the action, including reasonable attorneys’ fees;

       g. Ordering Defendant to pay pre-judgment interest on all amounts awarded;

       h. Providing such further relief as may be just and proper.


                                   JURY TRIAL DEMANDED

       Plaintiff demands a trial by jury on all claims so triable.


Dated: April 1, 2022                                    Respectfully submitted,

                                                        BURSOR & FISHER, P.A.

                                                        By:     /s/ Frederick J. Klorczyk III
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